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SOUTHERN DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

United States of America, Case No.: VN mM 1 \ 4 Y

Plaintiff,
ORDER

Ul LURANA SANIAKE,

Defendant.

 

 

 

Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure,
Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions from the Supreme
Court and the Ninth Circuit interpreting Brady, the government has a continuing
obligation to produce all information or evidence known to the government relating to
guilt or punishment that might reasonably be considered favorable to the defendant's case,
even if the evidence is not admissible so long as it is reasonably likely to lead to admissible
evidence. See United States v. Price, 566 F.3d 900,913 n.14 (9th Cir. 2009). Accordingly,
the court orders the government to produce to the defendant in a timely manner all such
information or evidence.

Information or evidence may be favorable to a defendant's case if it either may help
bolster the defendant's case or impeach a prosecutor's witness or other government

evidence. If doubt exists, it should be resolved in favor of the defendant with full

 
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disclosure being made.

If the government believes that a required disclosure would compromise witness
safety, victim rights, national security, a sensitive law-enforcement technique, or any other
substantial government interest, the government may apply to the Court for a modification

of the requirements of this Disclosure Order, which may include in camera review and/or

withholding or subjecting to a protective order all or part of the information.

This Disclosure Order is entered under Rule 5(f) and does not relieve any party in
this matter of any other discovery obligation. The consequences for violating either this
Disclosure Order or the government's obligations under Brady include, but are not limited
to, the following: contempt, sanction, referral to a disciplinary authority, adverse jury
instruction, exclusion of evidence, and dismissal of charges. Nothing in this Disclosure
Order enlarges or diminishes the government's obligation to disclose information and
evidence to a defendant under Brady, as interpreted and applied under Supreme Court and
Ninth Circuit precedent. As the Supreme Court noted, "the government violates the
Constitution's Due Process Clause ‘if it withholds evidence that is favorable to the defense
and material to the defendant's guilt or punishment."’ Turner v. United States, 137 S. Ct.
1885, 1888 (2017), quoting Smith v. Cain, 565 U.S. 73, 75 (2012).

Dated: 10/18/21 l, tb bs. lo. [

Hon. Mitchell D. Dembin
United States Magistrate Judge

 
